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 ATTACHMENT B
          Right of Entry for Survey
            and Site Assessment
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                                                                      &'%% 37==?C<B5=;5 .B7=A7 14
                                                                      45?9;=8@>=" 0/ '%''-


                                                                      U.S. Customs and
                                                                      Border Protection


                                                                                   Bd]T 2& ,*+2


E^acW 8\TaXRP] 9dccTaU[h 8bb^RXPcX^]
. <T[PfPaT H^PS
D^aaXbc^f]& EB *130*

J^ MW^\ Xc DPh ;^]RTa]4

   JWT _da_^bT ^U cWXb [TccTa Xb P bTR^]S PccT\_c c^ aT`dTbc h^da faXccT] _Ta\XbbX^] c^ T]cTa
d_^] h^da [P]S X] PRR^aSP]RT fXcW cWT T]R[^bTS HXVWc ^U =]cah U^a IdaeTh P]S IXcT
8bbTbb\T]c $HF='I% P]S PRR^\_P]hX]V \P_& fWXRW fPb ^aXVX]P[[h ST[XeTaTS ^]
8_aX[ ,.& ,*+2( F]RT h^d WPeT WPS P] ^__^acd]Xch c^ aTeXTf cWT T]R[^bTS S^Rd\T]cb fT
X]eXcT h^d c^ RP[[ ^a T\PX[ cWT QT[^f [XbcTS _^X]c ^U R^]cPRc c^ aTeXTf cWT \PcTaXP[ fXcW h^d
P]S)^a c^ PSSaTbb P]h `dTbcX^]b h^d \Ph WPeT(

  O^d PaT aTRTXeX]V cWXb [TccTa QTRPdbT cWT K(I( ?^eTa]\T]c WPb XST]cXUXTS P _^acX^] ^U
h^da _a^_Tach cWPc fT fXbW c^ PRRTbb U^a cWT _da_^bT ^U R^]SdRcX]V T]eXa^]\T]cP[
PbbTbb\T]cb& _a^_Tach bdaeThb& P__aPXbP[b P]S P]h ^cWTa bdRW f^aZ fWXRW \Ph QT
]TRTbbPah P]S X]RXST]cP[ c^ cWT ?^eTa]\T]cmb PbbTbb\T]c ^U cWT Ga^_Tach U^a _^bbXQ[T
PR`dXbXcX^] X] bd__^ac ^U K(I( ;dbc^\b P]S 9^aSTa Ga^cTRcX^]mb $;9G% R^]bcadRcX^] ^U
Q^aSTa X]UaPbcadRcdaT PdcW^aXiTS Qh ;^]VaTbb X] cWT >XbRP[ OTPa ,*+2 P__a^_aXPcX^] P]S
^cWTa Ud]STS cPRcXRP[ X]UaPbcadRcdaT _a^YTRcb(

   9^aSTa bTRdaXch cPRcXRP[ X]UaPbcadRcdaT& bdRW Pb Q^aSTa fP[[b& [XVWcX]V& P]S a^PSb& PaT
RaXcXRP[ T[T\T]cb c^ VPX] TUUTRcXeT R^]ca^[ ^U ^da EPcX^]mb Q^aSTab( JWT _da_^bT ^U Q^aSTa
bTRdaXch X]UaPbcadRcdaT Xb c^ STcTa X[[XRXc Ra^bb'Q^aSTa PRcXeXch bdRW Pb SadV b\dVV[X]V& Q^aSTa
eX^[T]RT P]S X[[TVP[ X\\XVaPcX^](

  JWT _[P]]TS PbbTbb\T]cb ^dc[X]TS X] cWT HF='I PaT bRWTSd[TS c^ ^RRda X]cTa\XccT]c[h
^eTa cWT cX\T _TaX^S b_TRXUXTS X] cWT S^Rd\T]c( F][h cWT _^acX^] ^U h^da _a^_Tach cWPc \Ph
QT PUUTRcTS Qh R^]bcadRcX^] ^U Q^aSTa bTRdaXch cPRcXRP[ X]UaPbcadRcdaT& Pb bW^f] ^] cWT \P_
^U cWT T]R[^bTS HF='I& fX[[ QT T]eXa^]\T]cP[[h PbbTbbTS Qh cWT K(I( ?^eTa]\T]c& Xcb
PVT]cb& T\_[^hTTb& P]S R^]caPRc^ab( JWT HF='I Xb aT`dXaTS QTh^]S cWT _a^_^bTS _a^YTRc
PaTP U^a PRRTbb c^ TPRW _PaT]c caPRc \^]d\T]c X] ^aSTa U^a cWT bdaeTh^a c^ _WhbXRP[[h [^RPcT
cWT bdQYTRc PaTP X] P[XV]\T]c fXcW PSY^X]X]V _a^_Tach Q^d]SPaXTb( IcPcT [Pf aT`dXaTb cWT
bdaeTh^a c^ _a^SdRT f^aZ ^U bdUUXRXT]c `dP[Xch Pb c^ _aTeT]c Q^d]SPah [X]T SXb_dcTb P]S QT
cTRW]XRP[[h d]QXPbTS U^a P[[ X\_PRcTS _PacXTb( 9h bXV]X]V cWXb U^a\& h^d PaT VaP]cX]V faXccT]
_Ta\XbbX^] c^ cWT K(I( ?^eTa]\T]c& Xcb PVT]cb& T\_[^hTTb& P]S R^]caPRc^ab c^ R^]SdRc cWT
PbbTbb\T]c PRcXeXcXTb STbRaXQTS( JW^bT PRcXeXcXTb \Ph R^\\T]RT X\\TSXPcT[h U^[[^fX]V
TgTRdcX^] ^U cWT S^Rd\T]c(
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   MT W^_T cWPc h^d P]S ^cWTa [P]S^f]Tab X] cWT HX^ ?aP]ST LP[[Th fX[[ PbbXbc db X] ^da
bcaPcTVXR TUU^acb c^ bTRdaT ^da EPcX^]mb Q^aSTab( G[TPbT aTeXTf cWT T]R[^bTS HF='I
_PRZPVT& bXV] P]S aTcPX] ^]T R^_h U^a h^da aTR^aSb& P]S aTcda] cf^ bXV]TS R^_XTb fXcWX]
bTeT] $1% RP[T]SPa SPhb Ua^\ cWT SPcT h^d aTRTXeT cWXb [TccTa eXP RTacXUXTS \PX[& P]S _[TPbT
dbT cWT T]R[^bTS& _aT'PSSaTbbTS P]S _^bcPVT'_PXS T]eT[^_T( K_^] aTRTX_c ^U h^da bXV]TS
R^_XTb& cWT K(I( ?^eTa]\T]c fX[[ R^\_[TcT P]S aTcda] P Ud[[h TgTRdcTS R^_h U^a h^da
aTR^aSb( AU h^d PaT PRcX]V X] P] PVT]c RP_PRXch U^a P R^a_^aPcX^] ^a ^aVP]XiPcX^]& _[TPbT UX[[
X] cWT ;TacXUXRPcT U^a ;^a_^aPcX^]b P]S GPac]TabWX_b U^d]S ^] _PVT'- ^U cWT T]R[^bTS HF='
I _PRZPVT( AU h^da _a^_Tach Xb RdaaT]c[h d]STa P] PRcXeT [TPbT& [XRT]bT ^a Xb ^cWTafXbT
^RRd_XTS& _[TPbT WPeT cWT cT]P]c ^a [XRT]bTT UX[[ X] cWT _^acX^] ^U cWT HF='I STbXV]PcTS U^a
cT]P]c X]U^a\PcX^]& b^ cWPc R^]bT]c Ua^\ cWPc X]SXeXSdP[ RP] QT ^QcPX]TS Pb fT[[(


  ;9G WPb R^[[PQ^aPcTS fXcW cWT K(I( 8a\h ;^a_b ^U =]VX]TTab $KI8;=% c^ ^QcPX] PRRTbb
c^ cWT aTP[ TbcPcT c^ bd__^ac cWT f^aZ TUU^ac STbRaXQTS PQ^eT( JWTaTU^aT& XU h^d WPeT P]h
`dTbcX^]b& ]TTS P ]Tf R^_h ^U cWT HF='I _PRZPVT& ^a f^d[S _aTUTa c^ bTc d_ P] X]'_Tab^]
P__^X]c\T]c& _[TPbT bRWTSd[T P \TTcX]V fXcWX] bTeT] $1% SPhb Ua^\ cWT SPcT h^d aTRTXeT
cWXb [TccTa Qh R^]cPRcX]V P KI8;= HTP[ch I_TRXP[Xbc c^[[ UaTT Qh RP[[X]V '+'200'2.2'+,,+& ^a
h^d RP] \PZT R^]cPRc eXP T\PX[ Pc Q^aSTa(X]UaPbcadRcdaT(_a^YTRcb7dbPRT(Pa\h(\X[(


                                             IX]RTaT[h&




                                              C^aT] >[^bb\P]
                                              MP[[ Ga^VaP\ G^acU^[X^ DP]PVTa
                                              KI9G Ga^VaP\ DP]PVT\T]c FUUXRT
                                              <XaTRc^aPcT
                                              K(I( 9^aSTa GPca^[


=]R[^bdaT
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Border Infrastructure Project(s)                                    DACW63-9-18-




                        U.S. CUSTOMS AND BORDER PROTECTION

                         DEPARTMENT OF HOMELAND SECURITY


                      Right-of-Entry For Survey and Site Assessment

JWT d]STabXV]TS& WTaTX]PUcTa RP[[TS cWT kFf]Tal& WTaTQh VaP]cb c^ cWT K]XcTS IcPcTb ^U 8\TaXRP&
WTaTX]PUcTa RP[[TS cWT k?^eTa]\T]cl& P cT\_^aPah aXVWc'^U'T]cah d_^] Ff]Tamb _a^_Tach
STbRaXQTS QT[^f& WTaTX]PUcTa RP[[TS cWT kGa^_Tach(l JWXb aXVWc'^U'T]cah Xb VaP]cTS d_^] cWT
U^[[^fX]V cTa\b P]S R^]SXcX^]b4


   +( JWT ?^eTa]\T]cmb ^UUXRTab& T\_[^hTTb& PVT]cb& P]S R^]caPRc^ab bWP[[ WPeT cWT aXVWc c^
      T]cTa d_^] cWT Ga^_Tach U^a cWT _da_^bT ^U R^]SdRcX]V T]eXa^]\T]cP[ PbbTbb\T]cb P]S
      _a^_Tach bdaeThb& X]R[dSX]V cWT aXVWc c^ cT\_^aPaX[h bc^aT& \^eT P]S aT\^eT ]TRTbbPah
      T`dX_\T]c P]S bd__[XTb5 bdaeTh& bcPZT ^dc& P__aPXbT& Q^aT P]S cPZT b^X[ P]S)^a fPcTa
      bP\_[Tb& P]S _TaU^a\ P]h ^cWTa bdRW f^aZ fWXRW \Ph QT ]TRTbbPah P]S X]RXST]cP[ c^
      cWT ?^eTa]\T]cmb PbbTbb\T]c ^U cWT Ga^_Tach U^a 9^aSTa A]UaPbcadRcdaT Ga^YTRcb X] cWT
      HX^ ?aP]ST LP[[Th ITRc^a PaTP ^U aTb_^]bXQX[Xch(

   ,( JWXb aXVWc'^U'T]cah Xb XaaTe^RPQ[T U^a P _TaX^S ^U cWaTT $3) \^]cWb Ua^\ cWT SPcT ^U cWXb
      X]bcad\T]c( JWTaTPUcTa& cWXb aXVWc'^U'T]cah Xb aTe^RPQ[T U^a P _TaX^S ^U ]X]T $9) \^]cWb
      fXcW cf^ $,% \^]cWb ]^cXRT c^ cWT V^eTa]\T]c(


   -( JWT aXVWcb VaP]cTS WTaTX] X]R[dST cWT aXVWc ^U X]VaTbb P]S TVaTbb ^] ^cWTa [P]Sb ^U cWT
      Ff]Ta ]^c STbRaXQTS QT[^f& _a^eXSTS bdRW X]VaTbb P]S TVaTbb Xb ]TRTbbPah c^ PRRTbb
      cWT Ga^_Tach P]S Xb ]^c ^cWTafXbT R^]eT]XT]c[h PePX[PQ[T c^ cWT ?^eTa]\T]c(

   .( JWT ?^eTa]\T]c fX[[ VXeT cWT Ff]Ta bTeT]ch'cf^ $1,% W^da ]^cXRT _aX^a c^ T]cah d_^]
      cWT [P]S( JWT Ff]Ta fX[[ WPeT U^ach'TXVWc $.2% W^dab c^ ]^cXUh cWT ?^eTa]\T]c cWPc T]cah
      d_^] cWT [P]S Pb ]^cXRTS Qh cWT ?^eTa]\T]c Xb ]^c _^bbXQ[T SdT c^ P R^]U[XRcX]V TeT]c
      c^ QT WT[S ^] cWT Ga^_Tach( AU cWT Ff]Ta X]e^ZTb cWXb aXVWc ^U R^]U[XRc ^] cf^ ^RRPbX^]b&
      cWT ?^eTa]\T]c \Ph cWT] T]cTa cWT _a^_Tach fXcW ]^ ]^cXRT( IT_PaPcT[h& cWT
      V^eTa]\T]c PVaTTb cWPc Xc fX[[ ]^c T]cTa cWT [P]S ^] cWT U^[[^fX]V SPcTb4 E^eT\TQTa -'
      0& ,*+2& P]S E^eT\QTa 3'+*& ,*+2(

   /( 8[[ c^^[b& T`dX_\T]c& P]S ^cWTa _a^_Tach cPZT] d_^] ^a _[PRTS d_^] cWT [P]S Qh cWT
      ?^eTa]\T]c bWP[[ aT\PX] cWT _a^_Tach ^U cWT ?^eTa]\T]c( E^ c^^[b& T`dX_\T]c& ^a
      ^cWTa _a^_Tach fX[[ QT bc^aTS d_^] cWT [P]SQh cWT V^eTa]\T]c& TgRT_c fWT] X] PRcdP[
      ^a X\\X]T]c dbT& TgRT_c cWPc \PaZTab fXcW P] N ^] cWT\ $U^a PTaXP[ bdaeThb% P]S
      bdaeTh bcPZTb P]S Q^d]SPah \PaZTab \Ph QT [TUc ^] cWT _a^_Tach(

   0( AU P]h PRcX^] ^U cWT ?^eTa]\T]c#b ^UUXRTab& T\_[^hTTb& PVT]cb& ^a R^]caPRc^ab X] cWT
      TgTaRXbT ^U cWXb aXVWc'^U'T]cah aTbd[cb X] SP\PVT c^ aTP[ _a^_Tach& P] PS\X]XbcaPcXeT R[PX\
      RP] QT \PST dbX]V P IcP]SPaS >^a\ $I>% 3/ $;[PX\ U^a A]Ydah& <P\PVT& ^a <TPcW%( JWT
      I> 3/ \dbc X]R[dST bd__^acX]V S^Rd\T]cPcX^] P]S bcPcT P R[PX\ U^a \^]TcPah SP\PVTb
      X] P bd\ RTacPX] P\^d]c U^a P]h P[[TVTS [^bb ^a SP\PVT ^U _a^_Tach& P]S \dbc QT UX[TS
      fXcWX] cf^ hTPab PUcTa cWT R[PX\ PRRadTb( G[TPbT bdQ\Xc cWT I> 3/ P]S bd__^acX]V
                                                &
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Border Infrastructure Project(s)                               DACW63-9-18-
      S^Rd\T]cPcX^] c^ cWT ;9G G^ac ^U =]cah ^a K]XcTS IcPcTb 9^aSTa GPca^[ bcPcX^] ]TPaTbc c^
      fWTaT cWT P[[TVTS SP\PVTb ^RRdaaTS(


   1( JWT Ga^_Tach cWPc Xb bdQYTRc c^ cWXb aXVWc'^U'T]cah Xb [^RPcTS X] cWT IcPcT ^U JTgPb& ;^d]ch
      ^U @XSP[V^& P]S Xb bW^f] ^] cWT PccPRWTS =gWXQXc DP_(

   2( A PUUXa\ cWPc A WPeT cWT PdcW^aXch c^ VaP]c cWXb aXVWc'^U'T]cah ^]c^ cWT Ga^_Tach STbRaXQTS
      PQ^eT(




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 Border Infrastructure Project(s)                                                       DACW63-9-18-




  <PcTS cWXb &-@9        SPh ^U 26@$                                    & ,*+2 J@= KEAJ=< IJ8J=I F> 8D=HA;8
                          Fkikvcnn{!ukipgf!d{!Lghhtg{!Incuudgti!


Lghhtg{!Incuudgti
                          FP<!ep?Lghhtg{!Incuudgti-!q?Pqtvj!Cogtkecp!
                          Dwvvgthn{!Cuuqekcvkqp-!qw-!
                          gockn?incuudgtiBpcdc/qti-!e?WU!
                          Fcvg<!3129/21/2;!1;<15<68!.16(11(

  Ff]Tamb bXV]PcdaT                                                          9h4
                                                                                C^aT] >[^bb\P]& <XaTRc^a
 BTUUaTh ?[PbbQTaV                                                              9^aSTa GPca^[ 8Xa P]S DPaX]T
  Ff]Tamb _aX]cTS ]P\T                                                          Ga^VaP\ DP]PVT\T]c FUUXRT&
                                                                                >PRX[XcXTb DP]PVT\T]c P]S
  Ff]Tamb \PX[X]V PSSaTbb4                                                      =]VX]TTaX]V&
                                                                                K(I( ;dbc^\b P]S 9^aSTa Ga^cTRcX^]&
  . <T[PfPaT HS& D^aaXbc^f]& EB *130*                                           <T_Pac\T]c ^U @^\T[P]S ITRdaXch




  @^\T JT[T_W^]T4

  M^aZ JT[T_W^]T4     -+(#',*#%-%+




           Owner requires notification prior to entry. Yes                         No    (please circle one)


           AU hTb& _[TPbT _a^eXST cWT _aX\Pah P]S P[cTa]PcT _^X]c ^U R^]cPRc $GF;% P]S _W^]T
           ]d\QTa P]S)^a T\PX[(
           GaX\Pah GF;4
           8[cTa]PcT GF;4




                                                                        (
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                                 CERTIFICATE OF AUTHORITY
                         (applicable for Corporations and Organizations)


       I&                                (name)& RTacXUh cWPc A P\ cWT

(position held in organization) ^U cWT                              (organization)& Sd[h ^aVP]XiTS

P]S aTVXbcTaTS X] cWT IcPcT ^U JTgPb5 cWPc                                      (executor of

instrument)& fW^ bXV]TS cWT U^aTV^X]V X]bcad\T]c ^] QTWP[U ^U cWT VaP]cTT& fPb cWT]

                                (position of executor of instrument) ^U bPXS

                                 (organization)( A UdacWTa RTacXUh cWPc cWT bPXS ^UUXRTa fPb PRcX]V

fXcWX] cWT bR^_T ^U _^fTab ST[TVPcTS c^ cWXb ^UUXRTa Qh cWT V^eTa]X]V Q^Sh ^U cWT VaP]cTT X]

TgTRdcX]V bPXS X]bcad\T]c(

       IN WITNESS WHEREOF, A WPeT WTaTd]c^ bTc \h WP]S& P]S cWT bTP[ ^U cWT

                                (organization)& cWXb           SPh ^U                          &

,*          (




                                                   9h4

                                          Jh_TS EP\T4

                                                   JXc[T4




NOTE4 J@= G=HIFE IA?EAE? J@= 89FL= ;=HJA>A;8J= ;8EEFJ 9= J@= I8D=
G=HIFE J@8J IA?E=< J@= HA?@J'F>'=EJHO(




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;FEI=EJ F> J=E8EJ4 (if applicable)

A WTaTQh R^]bT]c c^ cWT dbT ^U cWT _a^_Tach Qh cWT ?^eTa]\T]c X] PRR^aSP]RT fXcW cWXb aXVWc'^U'
T]cah(




                                                JT]P]cmb IXV]PcdaT


                                                JT]P]cmb GaX]cTS EP\T


                                                Ff]Tamb DPX[X]V 8SSaTbb4




                                                @^\T JT[T_W^]T4

                                                M^aZ JT[T_W^]T4




    Tenant requires notification prior to entry.     Yes          No    (please circle one)

     AU hTb& _[TPbT _a^eXST cWT _aX\Pah P]S P[cTa]PcT _^X]c ^U R^]cPRc $GF;% P]S _W^]T ]d\QTa
     P]S)^a T\PX[(
     GaX\Pah GF;4
     8[cTa]PcT GF;4




                                               *
Border Infrastructure Project- RGV-03 Segment H   Case 1:17-cv-02651-RJL Document 35-3 Filed 11/19/18 Page 9 of 10                                                                                   RGV Sector / Hidalgo County

                                                                                                                                                                                                             Legend



                                                                                                                                                                                                                      NNNN                      Proposed
                                                                                                                                                                                                                                                Project Area


                                                                                                                                                                                                                                                  Parent Tracts
                                                                                                                                                                                                                     NNNN                         for Surveying
                                                                                                                                                                                                                                                  Purposes


                                                                                                                                                                                                                  EFHJ@ 8D=HA;8E
                                                                                                                                                                                                                  9KJJ=H>CO 8IIF;


                                                                                                                                                                                                             HTUTaT]RT
                                                                                                                                                                                                               ;^d]ch A<                                      JaPRcb




                                                                                                                                                                                                                 0...1.                            H?L'D;I',+*3




                                                                                                                                                                                                                            * +** ,** >TTc

                                                                                                                                                                                                                                   + X]RW 6 .** UTTc




                                                                                                                                                                                                                                 <TC^a\T& KI?I& A]cTa\P_&
                                                                                                                                                                                                                                 AE;H=D=EJ G& EH;P]& =baX




                                                                                                                                                                                                              Warning: JWXb S^Rd\T]c Xb FOR OFFICIAL USE ONLY (FOUO).
                                                                                                                                                                                                              Ac R^]cPX]b X]U^a\PcX^] cWPc \Ph QT TgT\_c Ua^\ _dQ[XR aT[TPbT d]STa
                                                                                                                                                                                                              cWT >aTTS^\ ^U A]U^a\PcX^] 8Rc $I K(I(;( //,%( Ac Xb c^ QT R^]ca^[[TS&
                                                                                                                                                                                                              bc^aTS& WP]S[TS& caP]b\XccTS& SXbcaXQdcTS& P]S SXb_^bTS ^U X]
                                                                                                                                                                                                              PRR^aSP]RT fXcW <@I _^[XRh aT[PcX]V c^ >FKF X]U^a\PcX^] P]S Xb ]^c
                                                                   =baX& @=H=& ?Pa\X]& j F_T]IcaTTcDP_ R^]caXQdc^ab& =baX& @=H=& ?Pa\X]& j F_T]IcaTTcDP_ R^]caXQdc^ab& P]S cWT ?AI dbTa R^\\d]Xch& I^daRT4    c^ QT aT[TPbTS c^ cWT _dQ[XR ^a ^cWTa _Tab^]]T[ fW^ S^ ]^c WPeT P
                                                                   =baX& <XVXcP[?[^QT& ?T^=hT& =PacWbcPa ?T^VaP_WXRb& ;E=I)8XaQdb <I& KI<8& KI?I& 8Ta^?HA<& A?E& P]S cWT ?AI KbTa ;^\\d]Xch                   eP[XS "]TTS'c^
                                                                                                                                                                                                                           c^'Z]^f" fXcW^dc _aX^a P__a^eP[ ^U P] PdcW^aXiTS <@I
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                                                                    ^UUXRXP[(



                                                                                8_aX[ +, ,*+2
